Case 8:21

UNITED $
v.

JIMMY JO
a/k/
a/k/
MAURICE
a/k/
AUSTIN T
WAYNE F
GEORGE
CHAZ BRI
a/k/

The Grand Jury charges:

Begit

2020, and c

District of E

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

TATES OF AMERICA

CASE NO. 8:24 O# AT ASS “AAS
21 U.S.C. § 846
21 U.S.C. § 841

HNSON

a “BMG Heavy”
a “BMG”
CURRENT

a “Hut”

IRAVIS WEBB
LOYD

LONG
EWSTER

a “Little Man”

 

INDICTMENT

 

COUNT ONE
aning on an unknown date, but not later than on or about December 13,
ontinuing through on or about the date of this Indictment, in the Middle

‘lorida, and elsewhere, the defendants,

JIMMY JOHNSON, a/k/a “BMG Heavy,” “BMG,”
MAURICE CURRENT, a/k/a “Hut,”
AUSTIN TRAVIS WEBB,

WAYNE FLOYD,

GEORGE LONG,

 
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did knowingly and intentionally conspire with each other and other persons, both
known and
distribute cx
The }
containing
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or more off
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make staten

purpose of t

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On 01

defendant,

did knowing

CHAZ BREWSTER, a/k/a “Little Man,”

unknown to the Grand Jury, to distribute and possess with intent to
ontrolled substances.

violation involved 40 grams or more of a mixture and substance

a detectable amount of fentanyl, a Schedule II controlled substance.
respect to JIMMY JOHNSON, the violation further involved 50 grams
methamphetamine, a Schedule II controlled substance.

S part of the conspiracy that the conspirators would perform acts and
nents to hide and conceal and cause to be hidden and concealed the
ihe conspiracy and the acts committed in furtherance thereof.

| violation of 21 U.S.C. §§ 846 and 841(b)(1)(A)(viii), (b)(1)(B)(vi).
COUNT TWO

r about December 15, 2020, in the Middle District of Florida, the

JIMMY JOHNSON, a/k/a “BMG Heavy,” “BMG”,

sly and intentionally distribute and possess with intent to distribute a

controlled spbstance, which violation involved fifty (50) grams or more of

methamphet

In vio

famine, a Schedule II controlled substance.

lation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(viii).

 
Case 8:21

Ono

defendants,

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Ono

defendant,

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detectable a

In vi

Ono

defendant,

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COUNT THREE

r about February 9, 2021, in the Middle District of Florida, the

MAURICE CURRENT, a/k/a “Hut,”
gly and intentionally distribute and possess with intent to distribute a
ubstance, which violation involved a mixture and substance containing a
mount of fentanyl, a Schedule II controlled substance.
olation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C).
COUNT FOUR

r about February 10, 2021, in the Middle District of Florida, the

JIMMY JOHNSON, a/k/a “BMG Heavy,” “BMG”,

gly and intentionally distribute and possess with intent to distribute a
ubstance, which violation involved a mixture and substance containing a
mount of fentanyl, a Schedule II controlled substance.
Dlation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C).

COUNT FIVE

r about February 10, 2021, in the Middle District of Florida, the

AUSTIN TRAVIS WEBB,

 
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1

did ne ty and intentionally possess with intent to distribute a controlled

substance, which violation involved a mixture and substance containing a detectable

amount of fentanyl, a Schedule II controlled substance.

In violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C).
COUNT SIX

On or about February 12, 2021, in the Middle District of Florida, the
defendant,

JIMMY JOHNSON, a/k/a “BMG Heavy,” “BMG”,

did knowingly and intentionally distribute and possess with intent to distribute a
controlled substance, which violation involved forty (40) grams or more of a mixture
and substarice containing a detectable amount of fentanyl, a Schedule II controlled
substance.

In violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(vi).
COUNT SEVEN

On or about February 12, 2021, in the Middle District of Florida, the
defendants,

WAYNE FLOYD, and
GEORGE LONG,

aiding and abetting each other, did knowingly and intentionally possess with intent
to distribute a controlled substance, which violation involved forty (40) grams or
more of a mixture and substance containing a detectable amount of fentanyl, a

Schedule I] controlled substance.

 
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In violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(vi), and 18 U.S.C. § 2.

| COUNT EIGHT.

On or about February 18, 2021, in the Middle District of Florida, the

defendant,

CHAZ BREWSTER, a/k/a “Little Man,”

did knowingly and intentionally distribute and possess with intent to distribute a

controlled substance, which violation involved a mixture and substance containing a

detectable amount of fentanyl, a Schedule II controlled substance.

In violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C).

1.

PREVIOUS CRIMINAL CONVICTIONS

For the purposes of this section, the allegations contained in Counts

One through Eight are incorporated by reference.

2.

The defendants,

JIMMY JOHNSON, a/k/a “BMG Heavy,” “BMG,”
MAURICE CURRENT, a/k/a “Hut,”
AUSTIN TRAVIS WEBB,

WAYNE FLOYD,

GEORGE LONG,

CHAZ BREWSTER, a/k/a “Little Man,”

committed the offenses charged in this Indictment after convictions for prior felony

drug offense

3.

s became final.
The defendants,

JIMMY JOHNSON, a/k/a “BMG Heavy,” “BMG,”
WAYNE FLOYD, and
CHAZ BREWSTER, a/k/a “Little Man,”

 
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committed r offenses for which they are charged in this Indictment following prior

convictions for serious drug felonies and/or serious violent felonies, for which they

served more than 12 months of incarceration, became final, and were released from

serving any

within fiftee

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incorporated
provisions 0

2.

term of incarceration related to those serious drug and violent felonies

m years of the commencement of the offenses charged in this Indictment.
FORFEITURE

The allegations contained in Counts One through Eight are

i by reference for the purpose of alleging forfeiture pursuant to the

f 21 U.S.C. § 853.

Upon conviction of a violation of 21 U.S.C. §§ 841 and/or 846, the

defendants shall forfeit to the United States, pursuant to 21 U.S.C. § 853(a)(1) and

(2), any property constituting, or derived from, any proceeds the defendants

obtained, directly or indirectly, as a result of such violation, and any property used,

or intended

commission

3.

to be used, in any manner or part, to commit, or to facilitate the
of, such violation.

If any of the property described above, as a result of any acts or

omissions of the defendants:

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

 
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e. has been commingled with other property, which cannot be
! divided without difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant

to 21 U.S.C, § 853(p).

  

 

 

LA IS.
Foreperson

KARIN HOPPMAN
Acting United

By: A ds “KS K
Daniel M. Baeza
Assistant United States Att

By: git Oe.

R. Ruddy
Toeéoh ant United States Npomney
Chief, Transnational Organized Crime Section

 

 

 
a Case 8:21-cr-00095-MSS-AAS Document1 Filed 03/04/21 Page 8 of 8 PagelD 8
FORM OBD-34

March 21 No.

 

UNITED STATES DISTRICT COURT
Middle District of Florida
Tampa Division

 

 

 

THE UNITED STATES OF AMERICA ~ oe

VS.

JIMMY JOHNSON a/k/a “BMG Heavy”, a/k/a “BMG”
MAURICE CURRENT a/k/a “Hut”
AUSTIN TRAVIS WEBB
WAYNE FLOYD
GEORGE LONG
CHAZ BREWSTER a/k/a “Little Man”

 

INDICTMENT

Violations: 21 U.S.C. §§ 841, 846

 

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Filed in open court this 4th day
of March 2021.

 

Clerk

 

Bail $

 

 

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